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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

UNITED STATES                   *
                                *
    v.                          *      CRIM. NO. 19-216
                                *
JAHID REEVES                    *
                                *
                              *****
  ORDER REGARDING USE OF VIDEO CONFERENCING/TELECONFERENCING
             FOR FELONY PLEAS AND/OR SENTENCINGS

        In accordance with Standing Order 2020-06, this Court finds:

  ✔      That the Defendant (or the Juvenile) has consented to the use of video

teleconferencing/teleconferencing to conduct the proceeding(s) held today, after consultation

with counsel; and

  ✔      That the proceeding(s) to be held today cannot be further delayed without serious harm

to the interests of justice, for the following specific reasons:


See Attachment A


Accordingly, the proceeding(s) held on this date may be conducted by:
   ✔      Video Teleconferencing

          Teleconferencing, because video teleconferencing is not reasonably available for the

following reason:

                  The Defendant (or the Juvenile) is detained at a facility lacking video

        teleconferencing capability.

                  Other:




Date: November 9, 2020                                              s/Susan D. Wigenton
                                                                   Honorable Susan D. Wigenton
                                                                   United States District Judge
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                               ATTACHMENT A

       The Court finds that the sentencing hearing to be held on November 9,
2020, cannot be further delayed without serious harm to the interests of
justice, for the following reasons:

      1.    To ensure that the Court is not overwhelmed by cases and
            proceedings at the conclusion of this period of emergency.
            Currently, District Judges in New Jersey handle a substantially
            larger docket of cases than Judges in other Districts in the United
            States. New criminal cases continue to be assigned by the Court
            during the emergency. If the Court cannot resolve matters now by
            sentencing, the resulting backlog will overwhelm the Court’s ability
            to function effectively. The concern of such congestion and the
            particular harm that likely will be caused by delays in the
            processing of cases and matters in the future is particularly acute
            in this emergency, at least given that: (1) it is unknown when this
            emergency will subside and when the Court will be able to function
            at normal capacity (including, among other things, the
            empanelment of trial juries); and (2) this District’s pre-existing
            shortage of District Court Judges which already has challenged the
            Court’s ability to process and resolve cases. This District has six
            District Judge vacancies: two have been pending for more than
            five years; one has been pending almost three years; two have been
            pending for more than a year; and one has been pending almost a
            year. The Federal Judicial Conference has deemed the District’s
            six vacancies judicial emergencies.

      2.    To permit defendant REEVES to obtain a speedy resolution of his
            case through timely sentencing to afford appropriate punishment
            and rehabilitation. Defendant REEVES has asked for this case to
            be resolved today by sentencing.

      3.    To permit the Government to obtain a resolution of the case so that
            the Government, already operating in a restricted capacity due to
            the emergency, may appropriately focus its resources on other,
            emerging criminal matters. The Government has asked for this
            case to be resolved today by sentencing.

      4.    To prevent overcrowding at the facilities housing pre-trial
            detainees. The detention facilities have a limited capacity.
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          Detainees are transferred from the detention facilities to prison
          facilities only after they have been found guilty and sentenced.
          There is a constant influx of new detainees admitted to the
          detention facilities. If detainees cannot be transferred to prison
          facilities, the resulting backlog of detainees will overwhelm the
          detention facilities.
